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IN THE COURT OF APPEALS

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FOR THE SEVENTH DISTRICT OF TEXAS

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AT AMARILLO

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PANEL C

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AUGUST 5, 2011

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______________________________

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IN RE: HARVEY BRAMLETT, JR. AND JASON BLAKENEY,
RELATORS

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______________________________

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ORIGINAL PROCEEDING

ARISING FROM PROCEEDING BEFORE THE 108TH DISTRICT
COURT

OF POTTER COUNTY; NO. 99,017-00-E;

HONORABLE DOUGLAS WOODBURN, JUDGE PRESIDING

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_______________________________

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Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Relators, Harvey Bramlett, Jr. and
Jason Blakeney, proceeding pro se and in forma pauperis,
seek a writ of mandamus to compel the Honorable Douglas Woodburn to make and
file findings of fact and conclusions of law in their case against the Texas
Department of Criminal Justice Institutional Division, et al.&nbsp; Final judgment was entered in the case on
March 14, 2011, and Relators complied with Rules 296 and 297 of the Texas Rules
of Civil Procedure in requesting findings and conclusions.&nbsp; By order issued this same date, Relators'
direct appeal in cause number 07-11-0139-CV was abated
and the cause was remanded to the trial court with instructions to enter
findings of fact and conclusions of law.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Consequently,
Relators' request for mandamus relief is rendered moot.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per
Curiam

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